         Case 4:10-cr-00002-BMM Document 123 Filed 08/11/10 Page 1 of 2




                                                               r   '. . . . .


                                                               . . ,.j



                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF MONTANA

                                   GREAT FALLS DIVISION

 UNlTED STATES OF AMERICA,

                                   Plaintiff,                       No. CR 10-02-GF-SEH

 vs.                                                                FINDINGS AND
                                                                    RECOMMENDATIONS
 CONNIE JEAN SMITH,                                                 CONCERNING PLEA

                                   Defendant.

        The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

11 and has entered a plea of guilty to Counts VI and VIII of the Indictment.

        After examining the Defendant under oath, the Court determined that the

guilty pleas were knowingly, intelligently, and voluntarily entered; that the

Defendant fully understands her constitutional rights and the extent to which such

rights are waived; and that the offenses charged and to which guilty pleas were

entered contained each of the essential elements of the offenses.


NOTICE: Objections to these Findings and Recommendation are waived unless filed and served within 14 days.
28 U.S.C. § 636(b){l)(B); Fed. R. Crim. P 59(b)(2).
                                                     -1­
      Case 4:10-cr-00002-BMM Document 123 Filed 08/11/10 Page 2 of 2


      The Court further concludes that the Defendant had adequate time to review

the Plea Agreement with counsel, that she fully understands each and every

provision of the agreement and that all of the statements in the Plea Agreement are

true. I recommend that the Defendant be adjudged guilty and that sentence be

imposed. A presentence report has been ordered.

            DATED this      10 day of August, 2010.


                                              KEITH STRONG      ~
                                              United States Magistrate Judge
                                                                               ,




                                        -2­
